Case 1:18-cr-00004-MOB Document 1 Filed 01/19/18 Page 1 of 3 PageID #: 1




                                                                  . 18 JAN 19 P~ ~: 13
                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF KENTUCKY
                                 AT BOWLING GREEN


UNITED STATES OF AMERICA                                     INFORMATION

v.                                                    No.      1: 1r e12.- 'i        t-A/5
                                                             18 U.S.C. § 35l(e)
RENE A. BOUCHER


The Attorney General of the United States charges:

                                            COUNTl

       On or about November 3, 2017, in the Western District of Kentucky, Warren County,

Kentucky, the defendant, RENE A. BOUCHER, assaulted a person designated in 18 U.S.C. §

351(a), that is, a Member of Congress, resulting in personal injury.

       In violation of Title 18, United States Code, Section 35l(e).


                                             UNITED STATES OF AMERICA
                                             JEFFERSON B. SESSIONS, III
                                             Attorney General of the United States


                                             JOSH J. MINKLER
                                             UNI       :A.TES ATTORNEY



                                             Spepial Attorney to the
                                             United States Attorney General
                                             Office of the United States Attorney for the
                                             Southern District of Indiana
Case 1:18-cr-00004-MOB Document 1 Filed 01/19/18 Page 2 of 3 PageID #: 2




                               UNITED STATES OF AMERICA v. RENE A. BOUCHER

                                                       PENALTIES

Count 1:            NM 1Oyrs./$250,000/both/NM 3 yrs. Supervised Release

                                                        NOTICE

ANY PERSON CONVICTED OF AN OFFENSE AGAINST THE UNITED STATES SHALL BE SUBJECT TO
SPECIAL ASSESSMENTS. FINES. RESTITUTION & COSTS.

SPECIAL ASSESSMENTS

18 U.S.C. § 3013 requires that a special assessment shall be imposed for each count of a conviction of offenses committed
after November 11, 1984, as follows:

           Misdemeanor:    $ 25 per count/individual               Felony: $100 per count/individual
                            $125 per count/other                           $400 per count/other



In addition to any of the above assessments, you may also be sentenced to pay a fine. Such fine is due immediately unless
the court issues an order requiring payment by a date certain or sets out an installment schedule. You shall provide the
United States Attorney's Office with a current mailing address for the entire period that any part of the fine remains
unpaid, or you may be held in contempt of court. 18 U.S.C. §3571, 3572, 3611, 3612

Failure to pay rme as.ordered may subject yon to the following:

           l.   INTEREST and PENALTIES as applicable by law according to last date of offense.

                    For offenses occurring after December 12. 1987:

                    No INTEREST will accrue on fines under $2,500.00.

                    INTEREST will accrue according to the Federal Civil Post-Judgment Interest Rate
                    in effect at the time of sentencing. This rate changes monthly. Intetestaccrues
                    from the first business day following 1he two week period after the date a fine is
                    imposed.

                    PENALTIES of:

                    10% of fine balance if payment more tbari 30 days late.

                    15% of fine balance if payment more than 90 days late.

           2.       Recotdation of a LIEN shall have the same force and effect as a tax lien.

           3.       Continuous GARNiSHMENT may apply until your fuie is paid.
           18 u.s.c. §§ 3612, 3613

                    If you WILLFULLYrefuse to pay your fine, you shall be subject to an
                    ADDITIONAL FINE of not more ·than the greater of$ l 0,000 or twice the unpaid
                    balance of the fine; or IMPRISONMENT for not more than I year or both. .18
                    u.s.c. § 3615               .
Case 1:18-cr-00004-MOB Document 1 Filed 01/19/18 Page 3 of 3 PageID #: 3




RESTITUTION

If you are convicted of an offense under Title 18, U.S.C., or under certain air piracy offenses, you may also be ordered to
make restitution to any victim ofthe offense, in addition to, or in lieu of any other penalty authorized by law. 18 U.S.C.
§3663

APPEAL

If you appeal your conviction and the sentence to pay your fine is stayed pendii:tg appeal; the court shall require:

          1.       That you deposit the entire fine amount (or the amount due under an installment
                   schedule during the time of your appeal) in an escrow account with the U.S. District
                   Court Clerk, or

         2.        Give bond for payment thereof.

         18 u.s.c. § 3572(g)

PAYMENTS

If you are ordered to make payments to the U.S. District Court Clerk's Office, certified checks or money orders should be
made payable to the Clerk. U.S. District Court and delivered to the appropriate division office listed below:

                   LOUISVILLE:                  Clerk, U.S. District Court
                                                106 Gene Snyder U.S. Courthouse
                                                601 West Broadway               ·
                                                Louisville, KY 40202
                                                502/625-35.00

                   BOWLING GREEN:               Clerk, U.S. District Court
                                                120 Federal Building
                                                241 East Main Street
                                                Bowling Green, KY 42101
                                                270/393-2500

                   OWENSBORO:                   Clerk, U.S. District Court
                                                126 Federal Building
                                                423 Frederica
                                                Owensboro, KY 42301
                                                270/689-4400

                   PADUCAH:                     Clerk, U.S. District Court
                                                127 Federal Building
                                                501 Broadway
                                                Paducall, KY 42001
                                                270/415-6400

If the court finds that you have the present ability to pay, an order may direct imprisonment until payment is made.
